                      UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

                            NO. 5:08-CR-236-D



UNITED STATES OF AMERICA
                                        ORDER GRANTING LEAVE TO
          v.                            DESTROY CERTAIN EVIDENCE

TERRI HART
APRIL HALL
THOMAS THACKER
SHIQUANDRA BROOKS


     This matter having come before the Court on the United States'

motion for leave to destroy certain evidence, for good cause shown,

and without timely objection by any defendant hereto, IT IS HEREBY

ORDERED that the United States may immediately destroy all evidence

retained for the above-captioned matter.

     SO ORDERED, this       14   day of September, 2010.




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